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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE

UNITED STATES OF AMERICA,             )
                                      )
                                      )
                                      )
                   v.                 )   2:15-cr-00069-JDL
                                      )
VICTOR LARA JR.,                      )
                                      )
      Defendant.                      )


  ORDER ON DEFENDANT’S MOTION TO DISMISS FOR SPEEDY TRIAL
                        VIOLATION

      Following a jury trial held in September 2016, Victor Lara was convicted of

conspiracy to commit Hobbs Act Robbery and of using a firearm during and in relation

to a drug trafficking crime or a crime of violence. ECF No. 240-1. Lara subsequently

moved to dismiss the indictment against him on the basis that his right to a speedy

trial under the Speedy Trial Act, 18 U.S.C.A. § 3161 et seq. (2017), and under the

Sixth Amendment to the United States Constitution had been violated. See ECF No.

301. For the following reasons, I deny the motion.

                              I.    BACKGROUND

      Lara was arrested on state charges related to his federal offenses in August

2014. He was held in state custody until being arrested on the federal charges

underlying the instant case in March 2015. Lara was indicted on the federal charges

along with two co-defendants. The case was tried before a jury in September 2016.

One of the co-defendants proceeded to trial with Lara and was also convicted of
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conspiracy to commit robbery, among other offenses, while the third co-defendant

pleaded guilty and testified on behalf of the Government at the trial.

                                     II.     DISCUSSION

       Lara argues for dismissal based on both the Speedy Trial Act and on the Sixth

Amendment. He concedes in his reply briefing, however, that his claim under the

Speedy Trial Act is untimely. ECF No. 315 at 1; see also 18 U.S.C.A. § 3162(a)(2)

(2017) (“Failure of the defendant to move for dismissal prior to trial or entry of a plea

of guilty or nolo contendere shall constitute a waiver of the right to dismissal under

this section.”). Because Lara has waived any claim under the Speedy Trial Act, I

address only his Constitutional argument.

A.     Sixth Amendment Speedy Trial Right

       Courts examine four factors to determine whether a defendant’s right to a

speedy trial under the Sixth Amendment1 has been violated: (1) the length of the

delay; (2) the reason for the delay; (3) the defendant’s assertion of his right, and (4)

the prejudice to the defendant caused by the delay. United States v. Irizarry-Colón,

848 F.3d 61, 67 (1st Cir. 2017) (citing Barker v. Wingo, 407 U.S. 514, 530 (1972)). No

one factor is dispositive; courts are instructed to “weigh all of the factors collectively

before deciding whether a defendant’s right to a speedy trial has been violated.”


 1 The text of the Amendment reads as follows:


       In all criminal prosecutions, the accused shall enjoy the right to a speedy and public
       trial, by an impartial jury of the State and district wherein the crime shall have been
       committed, which district shall have been previously ascertained by law, and to be
       informed of the nature and cause of the accusation; to be confronted with the witnesses
       against him; to have compulsory process for obtaining witnesses in his favor, and to
       have the Assistance of Counsel for his defence.

U.S. Const. amend. VI.
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United States v. Dowdell, 595 F.3d 50, 60 (1st Cir. 2010) (quotation omitted). I turn

to consider each factor.

      1. Length of the Delay

      Assessing the length of the delay involves a double inquiry: first, the delay

must cross the threshold of being “presumptively prejudicial” in order to trigger the

Constitutional speedy trial analysis and the weighing of the four factors defined

above. Irizarry-Colon, 848 F.3d at 68. If the delay crosses this threshold, then the

extent to which it stretches beyond the bare minimum required to trigger the analysis

is one of the factors considered in the balancing test. Id. “Delay of around one year

is considered presumptively prejudicial, and the presumption that delay prejudices

the defendant ‘intensifies over time.’” United States v. Carpenter, 781 F.3d 599, 610

(1st Cir. 2015) (quoting Doggett v. United States, 505 U.S. 647, 652 and n.1 (1992)).

      Lara contends that the length of the delay in his case should be measured from

the time of his arrest on the related state charges in August 2014, which would result

in a delay of approximately 25 months. The First Circuit has held, however, that the

dual sovereignty doctrine dictates that a defendant’s federal right to a speedy trial

attaches upon the federal accusation or arrest. See Dowdell, 595 F.3d at 61-62. Lara

argues that the First Circuit’s decision in Rashad v. Walsh, 300 F.3d 27, 36 (1st Cir.

2002), supports the inclusion of his time in state custody in the speedy trial analysis.

      In Rashad, the court held that the defendant’s time spent in state custody prior

to his federal indictment did not count in the speedy trial analysis because the state

detention was unrelated to the incident underlying the defendant’s speedy trial claim.

See 300 F.3d at 36. The court stated that “the fact that the petitioner was in state

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custody prior to his indictment is of no consequence unless that detention was related

to the charges on which his speedy trial claim is based.” Id. Lara relies on this

statement to argue that if the state detention is related to the same incident that

results in later federal charges, then the time spent in state custody should count in

the speedy trial analysis.

        Lara’s interpretation of Rashad is foreclosed by the First Circuit’s later

decision in United States v. Dowdell. The defendant in Dowdell was the subject of a

federal drug investigation. 595 F.3d at 52. He was indicted on state drug distribution

charges arising out of the federal investigation in March 2002. Id. at 53. The federal

government filed charges arising out of the same incident in November 2004. Id. The

defendant eventually filed a motion to dismiss on speedy trial grounds, and argued

that the length of the delay should be measured from the state indictment in March

2002 because the “state charges arose out of a federal investigation, were for the same

offense as his federal charges, and were allegedly dismissed following a coordinated

effort with the federal government.” Id. at 62. The court rejected this argument,

holding that Supreme Court precedent on the dual sovereignty doctrine compelled

the conclusion that “[t]he speed of a federal trial is measured from the federal

accusation on which it is based; one sovereign’s enforcement of its own criminal laws

is not attributable to another sovereign merely because of the presence of

investigatory assistance, prosecutorial collaboration, or overlap among charges.” Id.2


 2  The statement from Rashad on which Lara relies can be reconciled with the later express holding
of Dowdell if interpreted to refer to the specific “charges” on which a defendant is brought to trial, as
opposed to separate state charges arising out of the same incident. See Rashad, 300 F.3d at 36. To
the extent they are contradictory, I am bound to follow Dowdell’s explicit holding rather than the
statement from Rashad, which is technically dicta.
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       Based on Dowdell, the delay in Lara’s case must be measured from his federal

arrest in March 2015. Lara was therefore detained for 17 months and 20 days before

his trial commenced in September 2016.

       As the Government concedes, a delay of 17 months and 20 days is

presumptively prejudicial and triggers the four-factor weighing analysis.                       See

Carpenter, 781 F.3d at 610. The delay, however, stretched less than six months

beyond the bare minimum necessary to trigger the analysis. See Irizarry-Colon, 848

F.3d at 68. A delay of this extent is not by any means surprising in light of the fact

that the case was complex and involved numerous counts and two other co-

defendants. See United States v. Worthy, 772 F.3d 42, 49 (1st Cir. 2014) (recognizing

that number of defendants and complexity of the case may excuse longer delay); see

also United States v. Casas, 425 F.3d 23, 36 (1st Cir. 2005) (recognizing “large and

complex nature of the proceedings” as “compelling reason” for lengthy delay). The

length-of-delay factor, therefore, supports Lara’s speedy trial claim, but only to a

modest degree.

       2. Reason for the Delay

       The First Circuit has described the second factor—the reason for the delay—

as the “focal inquiry” of the analysis. Worthy, 772 F.3d at 48-49 (quotation omitted).

The delay between Lara’s federal arrest and his trial in this case was primarily

attributable to pre-trial motions and motions for continuances filed by his two co-

defendants and by Lara’s unsuccessful motion to sever.3 The Government filed for


 3  Lara’s co-defendants filed multiple motions to extend time for filing pre-trial motions (ECF Nos.
64, 69, 82), a motion to reopen a detention hearing (ECF No. 73), a motion to suppress (ECF No. 77),

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extensions of time to respond to several of the motions as well as a motion to continue,

and Lara filed a motion in limine in addition to his motion to sever, and joined in a

partial motion to dismiss filed by one of his co-defendants.

       Delays attributable to co-defendants typically count against the defendant in

the speedy trial analysis. See United States v. Vega Molina, 407 F.3d 511, 533 (1st

Cir. 2005) (weighing reason-for-delay factor against defendant where delay was

attributable “to the needs of codefendants, rather than any slothfulness on the

government’s part”); see also Casas, 425 F.3d at 34 (weighing factor against

defendants where delay was “due in large part to the resolution of pre-trial matters

concerning [defendants] and their co-defendants”).                Lara’s position is atypical,

however, in that Lara himself did not file extensive pre-trial motions, objected to the

continuances requested by his co-defendants, and sought to have his case severed

from theirs in order to proceed to trial sooner. Compare Worthy, 772 F.3d at 49

(noting that defendant “himself was responsible for many of the pretrial motions”);

Casas, 425 F.3d at 34-35 (noting that “at least some of the delay . . . was attributable

to their own actions”). It should be noted, however, that Lara’s unsuccessful motion

to sever did require approximately four months to fully brief and decide.

       Although Lara does not bear responsibility for the delays caused by his co-

defendants, neither does the Government. Weighing this factor in Lara’s favor would

require a finding that the Government acted in bad faith, or at least negligently, to

delay the trial.      See Worthy, 772 F.3d at 49 (refusing to weigh delay against


motions to sever (ECF Nos. 94, 109), a partial motion to dismiss (ECF No. 112), motions in limine
(ECF Nos. 125, 126), and a motion to continue the trial date (ECF No. 165). One of the co-defendants
also filed a change of plea after agreeing to cooperate with the Government (ECF No. 179).
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government where it did not result from “prosecutorial bad faith”); Casas, 425 F.3d

at 34 (noting that defendants did not allege “bad faith effort by the government to

delay the proceedings”); United States v. Santiago-Becerril, 130 F.3d 11, 22 (1st Cir.

1997) (refusing to weigh delay against government where there was no evidence of

government “misconduct or negligence”); cf. Doggett, 505 U.S. at 657 (noting that

“[a]lthough negligence is obviously to be weighed more lightly than a deliberate intent

to harm the accused’s defense, it still” weighs against the government). Lara points

to no evidence that the Government acted in bad faith or negligently to delay the

trial. For that reason, the reason for the delay factor weighs against Lara’s claim.

      3. Defendant’s Assertion of the Right

      The Government concedes that Lara repeatedly asserted his right to a speedy

trial. Lara consistently objected to his co-defendant’s motions for continuances, as

well as the Court’s Speedy Trial Orders, and moved to sever his case in order to

facilitate a prompt trial. This factor weighs strongly in Lara’s favor.

      4. Prejudice Caused by the Delay

      In Barker v. Wingo, the seminal case on Sixth Amendment speedy trial rights,

the Supreme Court said that prejudice “should be assessed in the light of the interests

of defendants which the speedy trial right was designed to protect.” 407 U.S. at 532.

The Court went on to enumerate three such interests, including the need to prevent

oppressive pretrial incarceration, the need to minimize anxiety and concern of the

accused, and the need to limit the possibility that the defense will be impaired. Id.

The Court also stated that the third of these interests—avoiding impairment to the

accused’s defense—is the “most serious.” Id.

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      Lara identifies three sources of prejudice arising out of the delay that preceded

his trial. First, he asserts that while he was awaiting trial, a key witness died.

Second, he asserts that the delay enabled the Government the opportunity to secure

the cooperation of one of his co-defendants, who provided inculpatory testimony

against Lara at trial. Finally, Lara points to the prejudice inherent in pretrial

incarceration.

       The parties have stipulated that the deceased witness identified by Lara died

in December 2014. See ECF No. 314. Because the death took place before Lara’s

federal arrest in March 2015, and therefore before his speedy trial clock began to run,

the unavailability of the deceased witness at trial was not prejudice that arose from

the pre-trial delay. See United States v. Muñoz-Franco, 487 F.3d 25, 61 n.38 (1st Cir.

2007) (noting that witnesses identified by defendants had died “prior to indictment

and, consequently, their unavailability does not implicate the Sixth Amendment

analysis under Barker”).

      Lara’s argument regarding the decision of his co-defendant to cooperate with

the Government is equally unavailing. The First Circuit has noted that the potential

strength of the Government’s case, as opposed to impairment to the accused’s defense,

is not the sort of prejudice that the speedy trial right is designed to protect against.

See United States v. Trueber, 238 F.3d 79, 91 (1st Cir. 2001) (“[Defendant] does not

point to a single authority to support the novel proposition that the potential strength

the government’s case may acquire over time amounts to prejudice against the

defendant.”). Indeed, the Supreme Court has recognized in the speedy trial right

context that pretrial delay is often justified because “[t]he government may need time

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to collect witnesses against the accused.” See Doggett, 505 U.S. at 656. Other circuits

have explicitly held that the cooperation of co-defendants “is not the sort of prejudice

contemplated by Barker’s fourth factor.” United States v. Abad, 514 F.3d 271, 275

(2nd Cir. 2008); accord United States v. Toombs, 574 F.3d 1262, 1275 (10th Cir. 2009).

Lara does not identify any case law to the contrary.        See ECF No. 301 at 6-7.

Therefore, the fact that the Government was able to secure the cooperation of a co-

defendant before trial does not demonstrate prejudice suffered by Lara as a result of

the delay.

       Lara’s final assertion of prejudice is that of “lengthy and oppressive pretrial

incarceration,” with its attendant anxiety and uncertainty as to when and how his

case would be resolved. ECF No. 301 at 7. Lara also notes that while incarcerated

he was diagnosed with, and treated for, cancer, although neither his motion to sever

nor any of the objections he filed to the Court’s speedy trial orders made mention of

his illness.

       The First Circuit has recognized that “anxiety is a normal part of the pendency

of criminal charges,” and a defendant must therefore identify “undue pressures” in

order for anxiety to become a sign of prejudice. Carpenter, 781 F.3d at 615 (quotation

omitted). Lara has submitted a letter in which he describes the hardship he faced in

dealing with his cancer diagnosis and treatment while in pretrial incarceration. The

anxiety he describes, however, is that which is normally experienced by someone who

is incarcerated and dealing with a serious illness. Moreover, Lara does not suggest

how any such anxiety would have been alleviated by proceeding to trial—and being



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 convicted—in a more timely manner. See id. (noting that defendant failed to show

 how his situation would have been different “in the wake of a speedier conviction”).

       Lara further suggests that witnesses’ memories may have faded and their

 stories may have changed over time.        The Supreme Court has recognized that

 “excessive delay presumptively compromises the reliability of a trial in ways that

 neither party can prove or, for that matter, identify.” Doggett, 505 U.S. at 655. The

 Court also noted, however, that “presumptive prejudice cannot alone carry a Sixth

 Amendment claim,” and that the importance of this factor increases with the length

 of the delay. Id. at 656. As discussed above, the delay of 17 months and 20 days

 before trial in this case did not stretch far beyond the bare minimum needed to trigger

 the speedy trial analysis in the first place. While a “grossly excessive” delay may tilt

 the prejudice factor in the defendant’s favor even without affirmative proof of

 particularized prejudice, see Rashad, 300 F.3d at 41, the length of the delay in this

 case does not support that conclusion. Moreover, Lara did not call any witnesses or

 present any evidence in his own defense at trial. Thus, Lara has not shown that any

 memory lapses on the part of a witness—and Lara has not pointed to any specific

 instances—would be likely to impair his defense, as the witness would have been

 called by the Government. Cf. United States v. Vassell, 970 F.2d 1162, 1164 (2d Cir.

 1992) (noting that defendant failed to demonstrate prejudice to his defense in part

 because he “did not call any witnesses or present any evidence”).

       Finally, any suggestion of prejudice resulting from pretrial incarceration is

 undermined by the fact that Lara was convicted, and he will receive credit against

 his sentence for the time he served in pretrial incarceration. See Casas, 425 F.3d at

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 34 (finding no prejudice where “the time served was credited against the sentences

 [defendants] received upon conviction”).

       Because Lara has not demonstrated that he was prejudiced by the delay, the

 fourth factor weighs in favor of the Government.

       5. Weighing of Factors

       As discussed above, the third factor is the only one that strongly weighs in

 Lara’s favor in this analysis. The length of the delay in this case, while long enough

 to trigger the Constitutional analysis, was not grossly excessive in light of the

 complexity of the case, the extensive pre-trial motions, and the number of co-

 defendants. In addition, the pre-trial delay is primarily attributable to motions filed

 by Lara’s co-defendants and by Lara’s motion to sever, and cannot be held against

 the Government. Finally, Lara did not suffer any prejudice as a result of the delay.

 For these reasons, the four Barker factors, considered together, weigh against a

 finding that Lara’s Sixth Amendment right to a speedy trial was violated.

                                III.   CONCLUSION

       For the foregoing reasons, Lara’s Motion to Dismiss for Speedy Trial Violation

 (ECF No. 301) is DENIED.


       SO ORDERED.

       Dated this 4th day of August 2017


                                                         /s/ JON D. LEVY
                                                      U.S. DISTRICT JUDGE




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